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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11     JOHN DOE; JANE DOE; JOHN DOE 1,                   Case No.: 3:20-cv-00224-GPC-AHG
       a minor, by and through his guardian ad
12
       litem JANE DOE; and JOHN DOE 2, a                 ORDER GRANTING JOINT
13     minor, by and through his guardian ad             MOTION TO DISMISS
       litem JANE DOE,                                   PLAINTIFFS’ AMENDED
14
                                       Plaintiffs,       COMPLAINT
15
       v.
16
                                                         [ECF No. 60.]
       LINCOLN MILITARY PROPERTY
17
       MANAGEMENT LP; SAN DIEGO
18     FAMILY HOUSING, LLC; and DOES 1
       through 50, inclusive,
19
                                     Defendants.
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            Having reviewed the stipulation before the Court and noting that the stipulation has
22
      been signed by counsel for Plaintiffs John Doe, Jane Doe, John Doe 1 (by and through his
23
      guardian ad litem, Jane Doe), and John Doe 2 (by and through his guardian ad litem, Jane
24
      Doe) (“Plaintiffs”) and counsel for Defendants San Diego Family Housing LLC and
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      Lincoln Military Property Management LP, the Court approves the stipulation and
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      dismisses this action in its entirety including as to Defendants San Diego Family Housing
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 1    LLC and Lincoln Military Property Management LP, with prejudice. Each party shall
 2    bear their own attorney’s fees and costs.
 3          IT IS SO ORDERED.
 4    Dated: October 19, 2020
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